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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENWOOD DIVISION

                                 CASE NO: 8:19-CR-181

UNITED STATES OF AMERICA,        )
                                 )
           vs.                   )
                                 )
DANNY MORALES LOPEZ,             )
                                 )
                Defendant.       )
________________________________)


       PRELIMINARY MOTION TO SUPPRESS AND MOTION FOR LEAVE
        TO FILE ADDITIONAL GROUNDS TO SUPPRESS AFTER COURT
    RULES ON PENDING MOTIONS AND DISCOVERY HAS BEEN COMPLETED

       NOW COMES the defendant, and moves this Honorable Court for an Order to

suppress as evidence any and all physical objects, pre-arrest and post-arrest statements

of the defendant, and any and all other physical evidence which was obtained by the

government as a result of any illegal interrogation or an illegal arrest of the defendant or

an illegal search and seizure of certain items by the government, all in violation of the

Fourth, Fifth and Sixth Amendments to the United States Constitution.

       The defendant's motion is made pursuant to Rule 12(b)(3) and Rule 12(d)(2), of the

Federal Rules of Criminal Procedure in conjunction with Rule 16(1)(A). The defendant

does not at this time have sufficient information to make more specific his motion to

suppress inasmuch as the government has not released information pursuant to

defendant's motion for discovery, but upon further investigation and further compliance with

that request the defendant hopefully will have sufficient information upon which to file a

supplement to the motion to suppress.
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       Furthermore, at this time the defendant is not aware of what authority the

government used to search the defendant or his residence to make the motion more

definite and certain.

       Furthermore, the defendant has not been apprised of any oral or written statements

made by the defendant to more fully address any grounds of suppression.

       WHEREFORE, the defendant prays as follows:

       (a)    That the Court grant this motion to suppress evidence now in the possession

              of the United States Government;

       (b)    That the Court grant a hearing on the defendant's motion;

       (c)    That the defendant be allowed to amend and supplement this motion as new

              facts become available; and,

       (d)    For such other and further relief as this Honorable Court deems just and

              proper.

                                         Respectfully submitted,


                                         s/ Jack B. Swerling
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